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TRULINCS 91401054 'DENNIS, WILLIE - Unit: BRO-H-L


FROM: 91401054
TO: Sick Call
                      ***Request to Staff*** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
SUBJECT: Re: Re: Re:
DATE: 01 12512023 12:42:45 PM

Yes,

i have raised medicaltreatment issues below. I would like to have an appointment

Thank you.
----Sick Call on 11251202310:12 AM wrote:


This is a sick call request box ONLY

From: -^! DENNIS, -^!WlLLlE <91401054@inmatemessage.com>
Sent: Wednesday, January 25,2023 10:02 AM
subject: Re: Re: ***Request to staff*** DENNls, wllllE, Reg# 91401054, BRO-H-C

Dr Bialor,

Thank you for your response. Excuse my delay in responding. Since January 17,2023, we have been in locked down
continually for a week. During a fight ths inmate next door to me was cut in the face by another inmate and this led that evening
to a seriei of fights between inmaies. Ultimately, many corrections officers were called to the Unit 53 and tear gas was used to
restore order. Most importantly, while the tear gas lingered in the air, I started coughing and found it hard to breathe. Although I
placed a wet towel at the bottom of the door and covered my mouth with a wet towel, the coughing did not stop for over an hour.

Blocked Heart Arteries

Given the three blocked arteries surrounding my heart I became very concerned that I might have a heart attack. I tried to get
the attention of the correction officers in Unit 53 but as a result of the chaos no ne answered my calls. This is the second time
this has happened, the use of extensive tear gas in Unit 53, over the past 30 days. When I discussed with the COs they
indicated i need to continue " to bang on the doors until " I got someone's attention. My concern is that if I am having a heart
attack, I may not be able to bang for very long. A note from medical to the COs in 53 alerting them to check on me whenever
tear gas is used in the unit would be helpful. Any other suggestions would be appreciated

I want to bring to your attention that my blood pressure was checked yesterday and the first reading was 100/66' Subsequent
reading it wal a liile better. Most importantly this was the first reading taken since ....January 51h,2023. The delay was
attribuftd in part by the staff to the numerous lockdowns and lack of staff throughout the facility creating serious disruption in
the routines of the facility. Because of my heart condition and the 6 medications the doctors at Bellevue had recommended that
my blood pressure be taken at least once a day (small portable/home kits are available and my family would be willing to
purchase one for me ), we are now in a routine of taking it every couple of weeks and may miss the opportunity to identify a
serious problem well in advance.

Blocked Right Femoral ArterY.

you may recall that in December I was to return to bellevue for a monitoring and review of the blockage in my right femoral
artery. Because of issues with transport appointment was never kept
---Sick Callon 111812023 8:'17 AM wrote:

Please pass along this message to Mr. Dennis:
please iet him know that I reviewed the documentation from Bellevue, and they didn't document that they cleared you for
surgery, even though they may have told you that, while you were there. As a result, we would have to start over again and
have you see the Cardiologist in order to clear you for hernia repair surgery.

Bruce Bialor, MD
Clinical Director
MDC Brooklyn
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TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H-C


FROM: Psychology
TO:9'1401054
SUBJECT: RE:***lnmate to Staff Message***
DATE: 01 12412023 1 1 :47 :02 AM

Of course. The psychologist who oversees you housing unit has been notified of your request.

Thank you,
Psychology Services

please note, this mailbox is not monit ored 2417 .lf you are in crisis, please contact your unit officer or another staff member
immediately.

From: -^! DENNIS, -^!WlLLlE <91401054 @)inmatemessage.com>
Sent: Tuesday, January 24,2A23 1 1:31 AM
         ***Request to Staff**n DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
Subject:

To: Mental Health Staff
lnmate Work Assignment: Urgent- Psychologist

I just learned the psychologist will be here tomorrow. I would like to schedule    an appointment. I have e-mailed several times in
the  past. Given the Oruraii" increase in violence  in the Unit (one  victim  who was  cut in the face last Tuesday was in the cell
righi next to me) followed by the week  long  lockdown,   my need  to  see  the psychologist  has only increased' I know you e-
r""it"O the psyc'hologist on my behalf about two weeks ago Can You please send another message today ?

Thank you

Willie Dennis
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TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H-C


FROM: Sick Call
TO:9140'1054
SUBJECT: RE:***lnmate to Staff Message***
DATE: 0111812023 0B:'17:01 AM

Please pass along this message to Mr. Dennis:
please iet him know that I reviewed the documentation from Bellevue, and they didn't document that they cleared you for
surgery, even though they may have told you that, while you were there. As a result, we would have to start over again and
have you see the Cardiologist in order to clear you for hernia repair surgery.

Bruce Bialor, MD
Clinical Director
MDC Brooklyn
80 29th Street
Brooklyn, NY 11232


From: -^! DENNIS, -^!WlLLlE <91 }l054@inmatemessage'com>
Sent: Tuesday, January 17,2023 10:48 AM
Subject: ***Request to Staff*** DENNIS, WlLLlE, Reg# 9140'1054, BRO-H-C

To: Br Bialor
lnmate Work Assignment: Hernia

Good Morning Dr Bialor,

I hope you had a good holiday

My hernia pain continues to worsen and the lump in my testicle continues to grow. Dr Link and his team at Bellevue had given
me tfre sign off for proceeding with the inguinal surgery. Given that Dr Link and his team were open about potential
complications from the surgeiy relating to my heart failure, does it make sense to allow that team to move forward as they have
the heart expertise on the premises should any complications arise during the surgery.

Thank you for all your support.

Willie
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TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H-C


80 29th Street
Brooklyn, NY 11232


From: -^! DEN N S, -^lwl LLI E <91 401 054@inmatemessage. com>
                 I


Sent: Tuesday, January 17,2023 10:48 AM
Subject: ***Request to Staff** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C

To: Br Bialor
lnmate Work Assignment: Hernia

Good Morning Dr Bialor,

I hope you had a good holiday

My hernia pain continues to worsen and the lump in my testicle continues to grow. Dr Link and his team at Bellevue had given
me the sign off for proceeding with the inguinal surgery. Given that Dr Link and his team were open about potential
complications from the surgery relating to my heart failure, does it make sense to allow that team to move fonrvard as they have
the heart expertise on the premises should any complications arise during the surgery.

Thank you for all your support.

Willie
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TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H-L


FROM: 91401054
TO: Sick Call
SUBJECT: ***Request to Staff*** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
DATE: 0111412023 08:06:18 AM

To: Dr Bialor
lnmate Work Assignment: Hernia Surgery

Dr Bialor,

iwoke up this morning and my right inguinal hernia was n tremendous pain. Any update on a surgery date ?
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TRULINCS 91401054 'DENNIS, WILLIE - Unit: BRO'H-C


FROM: 91401054
TO: Sick Call
            ***Request to Staff"** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
SUBJECT:
DATE: 01 I 1 1 12023 12:25:12 PM

To: To Whom lt May Concern
lnmate Work Assignment: Dr Awad

I just saw Dr Awad in Unit 53. He recommend I seek appointment   with psychiatrist. Can you please arrange ?
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TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H-C


FROM: 91401054
TO: Sick Call
SUBJECT: ***Request to Staff"** DENNIS, WlLLlE, Reg# 9140'1054, BRO-H-C
DATE: 01 11 1 12023 10:03:29 AM

To: Practitioner Timothy
lnmate Work Assignment: Blood Pressure etc

Practitioner Timothy,

I am feeling faint headed and would like my blood pressure taken today .

I am also not sleeping and would like to receive anti anxiety/sleep medication. I met with one of the Court appointed doctors for
this matter yesterday , Dr. NG Brill and he said it is something that he believes you can help me with.
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TRULINCS 91401054 - DENNIS, WILLIE ' Unit: BRO'H-C


FROM:91401054
TO: Sick Call
SUBJECT: ***Request to Staff*** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
DATE: 01 10312023 1 0:07:00 AM

To: Practitioner Timothy
lnmate Work Assignment: Hernia Truss

Good Morning Ms Timothy,

I am still having serious pain when I am walking. Will you please order a hernia truss for support when I walk.

Thank you
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TRULINCS 91401054'DENNIS, WILLIE - Unit: BRO-H-C


FROM: Sick Call
TO:91401054
SUBJECT: RE:***lnmate to Staff Message***
DATE: 1210612022 OB:07:03 AM

You are scheduled to be seen

From: -^! DENNIS, -^!WlLLlE <91401054@inmatemessage.com>
Sent: Thursday, December 1,202210:25 AM
Subject: ***Request to Staff** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C

To: Dr Bruce Bailor
lnmate Work Assignment: Pain-Both Hernias

Dr. Bailor,

I am having server pain in my umbilical hernia. I am also having pain with my inguinal hernia and cannot push it back in. I need
tp have it pushed back in so I can walk around today'

Thank you

Willie
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        TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H-C


        FROM: 91401054
        TO: Sick Call
        SUBJECT: ***Request to Staff** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
        DATE: 1210412022 1 1 :35:26 AM
.ti

        Tg:'Dr Bialor
        liimate Work Assignment: HearVHernias/Fermoral

         Dr Bailor,

         My hernia in my right testicle continues to grow larger and is causing me a lot of pain. I would like to have photos taken so we
         can monitor its-growth over the next few weeks My umbilical hernia is also causing me pain. I need painkillers to help me with
         bgth hernias.

        My rightfoot and leg are constantly cold and in pain. lt is because of the cold airthat is being pumped into my cellallday
        tfriougl'l the ventilatibns system. Because my artery is already blocked each day it becomes more difficult for me to walk. I need
        to have my leg examined right away

         As you know because of my heart problems I am at risk of a heart attack at any time. I am presently taking Atorvastatin 59 tg,
         Mptoprolol 50 mg Jardiance 50 mg, Spironolactone, 25 mg, Sacubitril Vassar 25 mg and Aspirin 81 mg. Because of the
         nbgative affect of my heart medications on my blood pressure the doctors at Bellevue were taking my blood pressure three
       " timbs a day and making adjustments to my heart medication when my blood pressure went below 99/65. T The doctors said I
         need to keep'track of my blood pressure daily to avoid a heart attack. I am the primary care taker of my mother and I do the
         same for her with the portable devices that people now have in their homes

      o Willie Denis
         .I
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TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H'C


FROM: 91401054
TO: Sick Call
            ***Request to Staff** DENNIS, WlLLlE, Reg# 91401054' BRO-H-C
SUBJECT:
DATE : 121 1 512022 02:22:00 PM

To: Practioner Timothy
lnmate Work Assignment: Umbilical ans lnguinial

Practioner Timothy

I am still in a lot of pain from my my hernias', Would you please provide pain medication to reduce the pain

Thank you
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TRULINCS 91401054 - DENNIS, WILLIE - Unit: BRO-H-C


FROM: 91401054
TO: Sick Call
SUBJECT: Re: Re: ***Request to Staff*** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
DATE: 1210612022 07:26:09 PM

I am in great pain and discomfort and no one saw me today . No one has seen me since last week. I am very concerned about
my ability to stay alive given the serious health issues I face.
-----Sick Call on 121612022 B:07 AM wrote:


You are scheduled to be seen

From: -^! DENNIS, -^lwlLLlE <91401054@inmatemessage.com>
Sent: Thursday, December 1,202210:25 AM
Subject: ***Request to Staff*** DENNIS, WlLLlE, Reg# 9'1,40'1054, BRO-H-C

To: Dr Bruce Bailor
lnmate Work Assignment: Pain-Both Hernias

Dr. Bailor,

I am having server pain in my umbilical hernia. I am also having pain with my inguinal hernia and cannot push it back in. I need
tp have it pushed back in so I can walk around today'

Thank you

Willie
               Case 1:20-cr-00623-JSR            Document 137-4          Filed 02/03/23       Page 13 of 13


TRULINCS 91401054'DENNIS, WILLIE - Unit: BRO-H'L


FROM: 91401054
TO: Sick Call
           ***Request to Staff** DENNIS, WlLLlE, Reg# 91401054, BRO-H-C
SUBJECT:
DATE: 1210512022 05:41:21 PM

To: Practioner Timothy
lnmate Work Assignment: Right Femoral Artery?Ches

Dear Practioner TimothY,

My right leg,right foot and arms and chest are very cold. Cold air is being pumped into my cell all day and evening Given the
                                                                                               a very negative effect on my body
frLnt6rr tiitfiry right femoral artery, my heart anO my age ( 61 in 4 months ), this is having
                                                         i
I would like to met to discuss Also ire you able to ord-er  thermal top for  my upper  body and thermal bottoms from my legs ?
